                       Case 4:13-cr-00068-JM                Document 385              Filed 06/18/15          Page 1 of 9
AO 2458       (Rev. 09/11) Judgment in a Criminal Case                                                                      FILED
                                                                                                                         U.S. DISTRICT COURT
              Sheet 1                                                                                                EASTERN DISTRICT ARKANSAS



                                                                                                                       . ~N
                                                                                                                                  18
                                          UNITED STATES DISTRICT COURT                                                                  ZDIS
                                                                                                    JAMES . Mc.boRMACK CLERK
                                                            Eastern District of Arkansas            By:        WJ"" C..~ -~' '
                                                                        )                                                    DEPCLERK
              UNITED STATES OF AMERICA                                  )      JUDGMENT IN A CRIMINAL CASE
                                  v.                                    )
              KENNETH EUGENE BROWN, II                                  )
                                                                        )      Case Number: 4: 13CR00068-01 JLH
                                                                        )      USM Number: 27556-009
                                                                        )
                                                                        )       Lea Ellen Fowler
                                                                                  Defendant's Attorney
THE DEFENDANT:
~pleaded guilty to count(s)            Count 1s of Superseding Indictment

D pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                          Offense Ended               Count
21 U.S.C. §§ 846 and               Conspiracy to possess with intent to distribute                           2/4/2013                     1s

  841 (a)(1) and (b)(1 )(A)         methamphetamine, a Class A felony



       The defendant is sentenced as provided in pages 2 through           __6___ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)

5('count(s)     2s-9s, 1-6, 11, 16, 23                   Dis      litare dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenoant must notify the court and United States attorney of material changes in economic circumstances.

                                                                           6/18/2015




                                                                           J. Leon Holmes                               U.S. District Judge
                                                                          Name and Title of Judge


                                                                           6/18/2015
                                                                          Date
                        Case 4:13-cr-00068-JM                 Document 385      Filed 06/18/15         Page 2 of 9
AO 2458    '(Rev. 09/11) Judgment in Criminal Case
             Sheet 2 - Imprisonment

                                                                                                  Judgment -   Page _ _2__ of   6
DEFENDANT: KENNETH EUGENE BROWN, II
CASE NUMBER: 4:13CR00068-01 JLH


                                                              IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
 151 MONTHS




    ~ The court makes the following recommendations to the Bureau of Prisons:

 The Court recommends the defendant participate in residential substance abuse treatment, and educational and vocational
 programs during incarceration.


    ~ The defendant is remanded to the custody of the United States Marshal.

    D The defendant shall surrender to the United States Marshal for this district:
          D at      ----------
                                                     D a.m.     D p.m.   on

          D as notified by the United States Marshal.

    D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D before 2 p.m. on
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                      to

a _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                               UNITED STATES MARSHAL



                                                                         By ----------------------~
                                                                                           DEPUTY UNITED STATES MARSHAL
                         Case 4:13-cr-00068-JM                Document 385            Filed 06/18/15             Page 3 of 9

AO 245B       (Rev. 09/11) Judgment in a Criminal Case
              Sheet 3 - Supervised Release
                                                                                                            Judgment-Page       3   of         6
DEFENDANT: KENNETH EUGENE BROWN, II
CASE NUMBER: 4:13CR00068-01 JLH
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :
 FIVE (5) YEARS


        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any- unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
D        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)

         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

         The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act ( 42 U.S.C. § 16901, et seq.)
D        as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
         works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

D        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
    1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
    6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)    the defendant shall not associate with any 2ersons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and

 13)      as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
          record or Rersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
                    Case 4:13-cr-00068-JM            Document 385     Filed 06/18/15      Page 4 of 9

AO 245B   (Rev. 09/11) Judgment in a Criminal Case
          Sheet 3A- Supervised Release
                                                                                                        4_ of _ _6_ _
                                                                                        Judgment-Page _ _
DEFENDANT: KENNETH EUGENE BROWN, II
CASE NUMBER: 4:13CR00068-01 JLH

                                    ADDITIONAL SUPERVISED RELEASE TERMS
 14) The defendant must participate, under the guidance and supervision of the probation officer, in a substance abuse
 treatment program which may include testing, outpatient counseling, and residential treatment. The defendant must
 abstain from the use of alcohol throughout the course of treatment.
                       Case 4:13-cr-00068-JM                      Document 385          Filed 06/18/15        Page 5 of 9
AO 245B     (Rev. 09/11) Judgment in a Criminal Case
          ' Sheet 5 - Criminal Monetary Penalties
                                                                                                       Judgment - Page _   _:5=---- of    6
DEFENDANT: KENNETH EUGENE BROWN, II
CASE NUMBER: 4:13CR00068-01 JLH
                                                CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                                          Fine                              Restitution
TOTALS             $ 100.00                                             $ 0.00                             $ 0.00


D The determination of restitution is deferred until ___ . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664ti), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                                               Total Loss*          Restitution Ordered Priority or Percentage




TOTALS                                $ ______o_.o_o                           $ - - - - - - - -0.00
                                                                                                 --



 D    Restitution amount ordered pursuant to plea agreement $ - - - - - - - - - -

 D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      D the interest requirement is waived for the                D fine   D restitution.
      D the interest requirement for the               D   fine    D restitution is modified as follows:


 *Findings for the total amount oflosses are required under Chapters 109A, 110, llOA, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
                       Case 4:13-cr-00068-JM                  Document 385               Filed 06/18/15            Page 6 of 9
AO 245B     (Rev. 09/11) Judgment in a Criminal Case
          ' Sheet 6 - Schedule of Payments

                                                                                                                Judgment - Page   -=6- of                6
DEFENDANT: KENNETH EUGENE BROWN, II
CASE NUMBER: 4:13CR00068-01 JLH

                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ri{ Lump sum payment of $ _10_0_._0_0____ due immediately, balance due
           D     not later than - - - - - - - - - - ' or
           D     in accordance     D C, D D,     D    E, or                     D F below; or

B     D    Payment to begin immediately (may be combined with                D C,         DD, or        D F below); or

C     O Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D     O Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     D    Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     D    Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 D    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s):

 ri/ The defendant shall forfeit the defendant's interest in the following property to the United States:
       See attached PRELIMINARY ORDER OF FORFEITURE entered on December 12, 2014.



 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
        Case 4:13-cr-00068-JM           Document 385      Filed 06/18/15      Page 7 of 9
            Case 4:13-cr-00068-JLH Document 365 Filed 12/12/14 Page 1of3



                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA

v.                                     No. 4: 13CR00068-1 JLH

KENNETH EUGENE BROWN, II
    a/k/a 'ICE MAN"; a/k/a "BJ"

                         PRELIMINARY ORDER OF FORFEITURE

       IT IS HEREBY ORDERED THAT:

       1.      As the result of the December 1, 2014, guilty plea of Kenneth Eugene Brown, II

("Defendant") shall forfeit to the United States, under 18 U.S.C. § 924(d), 28 U.S.C. § 2461(c),

and 21 U.S.C. § 853:

               A.      One Smith & Wesson, model SW40VE, .40 caliber pistol, serial number

                       RAY5335;

               B.      One Lorcin, model L9, 9rnm pistol, bearing serial number Ll09713;

               C.      One Jimenez Arms, model J.A. Nine, 9rnm pistol, serial number 193065;

               D.      One Romarm SNCugir, model SAR-1, 7.62 x 39mm semi-automatic rifle,

                       serial number Sl-42966-2001;

               E.      One Norinco, model MAK 90, 7.62 x 39 semi-automatic rifle, serial

                       number9100796;and

               F.      $7,530 U.S. Currency.

(collectively "property subject to forfeiture").

       2.      Upon the entry of this Order, the United States Attorney General or a designee

(collectively "Attorney General") is authorized to seize the above-listed property and to conduct

any discovery proper in identifying, locating, or disposing of the property subject to forfeiture.

Fed. R. Crim. P. 32.2(b)(3). Further, the Attorney General is authorized to commence any
        Case 4:13-cr-00068-JM           Document 385          Filed 06/18/15       Page 8 of 9
            Case 4:13-cr-00068-JLH Document 365 Filed 12/12/14 Page 2 of 3



applicable proceeding to comply with statutes governing third party rights.

       3.      The United States shall publish, in such a manner as the Attorney General may

direct, notice of this Order and the United States' intent to dispose of the property subject to

forfeiture. The United States may also, to the extent practicable, provide written notice to any

person known to have an alleged interest in the property subject to forfeiture.

       4.      Any person, other than Defendant, asserting a legal interest in the property subject

to forfeiture may petition the Court for a hearing without a jury to adjudicate the validity of his

or her alleged interest in the property and for an amendment of this Order. See 21 U.S.C. §

853(n)(2); 28 U.S.C. § 2461(c).       This petition must be filed within 30 days of the final

publication of notice or receipt of notice, whichever is earlier. 21 U.S.C. § 853(n)(2).

       5.      This Preliminary Order of Forfeiture shall become final as to Defendant at the

time of sentencing and shall be made part of the sentence and included in the judgment. Fed. R.

Crim P. 32.2(b)(4)(A). If no third party files a timely claim, this Order shall become the Final

Order of Forfeiture. Fed. R. Crim. P. 32.2(c)(2).

       6.      Any petition filed by a third party asserting an interest in the property subject to

forfeiture shall be signed by the petitioner under penalty of perjury and shall set forth the nature

and extent of the petitioner's right, title, or interest in the property subject to forfeiture, the time

and circumstances of the petitioner's acquisition of the right, title or interest in the property

subject to forfeiture, any additional facts supporting the petitioner's claim and the relief sought.

       7.      After the disposition of any motion filed under Federal Rule of Criminal

Procedure 32.2(c)(l)(A) and before a hearing on the petition, discovery may be conducted in

accordance with the Federal Rules of Civil Procedure upon a showing that such discovery is

necessary or desirable to resolve factual issues.

       8.      The United States shall have clear title to the property subject to forfeiture
                        Case 4:13-cr-00068-JM            Document 385         Filed 06/18/15     Page 9 of 9
        ~
I   I       '
                            Case 4:13-cr-00068-JLH Document 365 Filed 12/12/14 Page 3 of 3



                following the Court's disposition of all third-party interests, or, if none, following the expiration

                of the period provided for the filing of third party petitions.

                       9.      The Court shall retain jurisdiction to enforce this Order and to amend it as

                necessary. See Fed. R. Crim. P. 32.2{e).

                       SO ORDERED this          / 2-rJ-day of December 2014.




                                                                   UNITED STATES DISTRICT JUDGE
